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                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                       :
         Adrian P Conway                     :       Chapter 7
         Sharon E. Conway                    :       Case No.: 19-15968-ELF
         Debtor(s)                           :


                             CERTIFICATE OF NO RESPONSE


        I hereby certify that no answer, objection or other responsive pleading has been filed in
response to the Motion to Avoid Lien of the Midland Funding for 2015-003482 and respectfully
request that the Order attached to the Motion be entered.



Dated: April 25, 2022                                /s/ Brad J. Sadek, Esquire
                                                     Brad J. Sadek, Esquire
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